            Case 2:22-cv-01439-ROS Document 59-2 Filed 06/03/24 Page 1 of 3




 1   Brett E. Lewis (pro hac vice)
     Brett@iLawco.com
 2
     LEWIS & LIN LLC
 3   77 Sands Street, 6th Floor
     Brooklyn, NY 11201
 4
     Tel: (718) 243-9323
 5   Fax: (718) 243-9326
     Email: Brett@iLawco.com
 6
 7   Attorneys for Plaintiff Richard Blair
 8                           UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF ARIZONA
10
11
12   Richard Blair,                                   Case No.: 2:22-cv-01439-ROS
13
                   Plaintiff/Counter-Defendant,
14
                                                      AFFIDAVIT OF NELLIE GONG IN
15   vs.                                              OPPOSITION TO MOTION FOR
                                                      SUMMARY JUDGMENT
16   Automobili Lamborghini S.p.A.,
17
                   Defendant/Counterclaimant.
18
19
20   I, Nellie Gong, hereby depose and state as follows:

21          1. I am an Office Manager at Lewis & Lin, LLC. I am over 18 years old and not a

22             party to this lawsuit. I make this affidavit based on my personal knowledge of

23             the events stated herein and upon documents that I have prepared and reviewed

24             in connection with this lawsuit.

25          2. On May 6, 2024, I conducted a search of the term “Lambo” on various

26             websites, as detailed below.

27          3. I conducted a search of “Lambo” with a trademark search tool powered by

28             European Union Intellectual Property Network, located at www.tmdn.org

                                                  1
     Case 2:22-cv-01439-ROS Document 59-2 Filed 06/03/24 Page 2 of 3




 1      (“TMDN”). TMDN is a trademark search tool widely used by practitioners in
 2      the area of trademark prosecution and protection. I found thirty (30) marks
 3      consist of a single word “Lambo” registered across different countries by non-
 4      parties for services and goods outside the automobile industry. Attached hereto
 5      as Ex. Q is a true copy of the search results of the said thirty registered single-
 6      word “Lambo” trademarks.
 7   4. Additionally, I found at least another thirty-one (31) registered marks consist of
 8      “Lambo” plus one other word or some design elements, such as “Lucky
 9      Lambo” or “The Lambo,” by non-parties for services and goods outside the
10      automobile industry. Attached hereto as Ex. R is a true copy of the search
11      results of the said thirty-one registered “Lambo”-combo trademarks.
12   5. I also searched “Lambo” with the Business Directory tool powered by Dun &
13      Bradstreet located at www.dnb.com (“DnB”), a widely-used website for search
14      of business information. My research returned five hundred and ninety-seven
15      (597) results of businesses incorporating “Lambo” in their names, which are
16      from various industries across different countries in the world. Attached hereto
17      as Ex. S is a true copy of the search results from DnB.
18   6. I also searched “Lambo” on www.imdb.com (“IMDb”), a popular and
19      authoritative database for movie, TV and celebrity content. My search revealed
20      one movie, one TV series, and one video production titled “Lambo.” Attached
21      hereto as Ex. T is a true copy of the search results from IMDb.
22   7. I also searched “Lambo” on various websites, including but not limited to
23      23andme, Ancestry.com, Myheritage.com. My search revealed that Lambo is a
24      surname with hundreds of counts recorded in the United States, with thousands
25      more recorded from other countries in the world, including Mozambique,
26      Philippines, Italy, and England. Attached hereto as Ex. U is a true copy of the
27      search results from the said surname-searching websites.
28

                                            2
            Case 2:22-cv-01439-ROS Document 59-2 Filed 06/03/24 Page 3 of 3




 1         I declare under the penalty of perjury that the foregoing statements are true and
 2   correct to the best of my knowledge and belief as of June 3, 2024.
 3
 4   Dated: June 3, 2024
 5         Brooklyn, New York
 6
 7
 8                                                   ___________________________
 9                                                          Nellie Gong
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 3
